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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

OCALA DIVISION
UNITED STATES OF AMERICA CASE NO.: 5:20-CR-40-JA-PRL
V.
JOSEPH CATALANO,
/

 

MOTION TO MODIFY CONDITIONS OF BOND

COMES NOW the Defendant, by and through undersigned counsel, hereby moves this

Honorable Court to enter an order modifying bond, and alleges:

1. The Defendant is out of custody and supervised on pretrial release.

2. That the defense is requesting that a condition of the Defendants release be modified.

3. The Defendant has multiple medical issues which requires him to take prescription
medications.

4. The Defendant has consented to have this information filed in this motion, despite his

privacy rights.

5. The Defendant is taking doctor prescribed medication and that some of his medication is
medically known to produce a false positive test for an illegal substance. To wit: false
positive results for methamphetamine. |

6. The following is a list of doctor prescribed medications the Defendant takes, as directed:

A. Lisinopril

B. Hydrochlorothiazide
C. Trazadone

Dz. Ropinirole HCI

E. Aspirin

F. Pepcid
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7. That attached to this motion is some research that confirms the prescribed drugs trazadone
and lisinopril can cause false positive test results when a person is drug tested.

8. That based upon the prescribed drugs the Defendant must take, and the real possibility of
false positive tests, the defense is requesting the drug testing condition of the Defendants
release be rescinded and all other conditions remain in effect.

9. The assistant United States Attorney is currently in trial and the defense did not get his
position on this motion.

10. Inaddition to the medication the Defendant is savisdl by his doctor to drink water in large

amounts.

MEMORANDUM OF LAW

The Honorable Court has the authority to set conditions of bond. The Honorable Court has
the authority to modify conditions of bond for good cause. The fact that the Defendant is on
prescription medications that can result in a false positive during testing, is good cause to modify

bond conditions.

WHEREFORE, the Defendant hereby moves this Honorable Court to enter an order as

requested above.
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CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that on November 18, 2020, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to the following: United States Attorney, further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to the following: none.

/s/ Michael W. Nielsen, Esquire

 

MICHAEL W. NIELSEN, ESQUIRE
NIELSEN LAW FIRM

720 West State Road 434

Winter Springs, Florida 32708
(407)327-5865 [FAX(407)327-0384]
Attorney for Defendant

Florida Bar No.: 0794392
nielsenlaw@cfl.rr.com
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11/9/2020

Catalano,Joseph | DOB: 12/08/1965 | Acc No: 116634 | Male

Medication Info
Pepcid 20 MG 1 tablet at bedtime as needed Orally once a day
with no refill(s)

Aspirin 81 MG 1 tablet Orally once a day
with no refill(s)

Ropinirole HCI 1 MG 1 tablet 1 to 3 hours before bedtime Orally once a day 30 day(s)
#30 with no refill(s)

Trazodone HCI] 50 MG | tablet at bedtime as needed Orally once a day 30 day(s)
#30 with no refill(s)

Hydrochlorothiazide 12.5 MG 1 capsule in the morning Orally once a day 30 day(s)
#30 with 2 refill(s)

Lisinopril 20 MG 1 tablet Orally once a day 30 day(s)
#30 with 2 refill(s)

View | - 6 of 6
Catalano, Joseph | DOB: 12/08/1965 | Acc No: 116634 | Male
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11/9/2020 trazodone false-positive - Google Search
Does Trazodone cause false positive?

Trazodone is another antidepressant used to treat depression. Taking it may result in afalse
positive test for LSD, amphetamine, or methamphetamine. Jun 9, 2020

https://www.google.com/search?rlz=1C1CHBF_enUS926US926&sxsrf=ALeKk02rV2jmw6U8VRGD9cebypVPx7-q3w:1 604956291762&q=trazodonetf... 1/1
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11/9/2020 8 medications that cause false positive drug tests (and 5 other substances)

8 medications that cause false positive drug tests

So, if you are like most people who don't take the time to study the fine print, here is a list of

prescriptions and over-the-counter medications that could cause a false positive drug test.

1. Analgesics/ NSAIDS

The medication Daypro (oxaprozin), which is prescribed for types of arthritis, may result in a false

positive test for benzodiazepines. The pain medication tramadol could trigger a false positive result

 

for PCP. Common over-the-counter anti-inflammatory pain medications such
as Advil (ibuprofen) and Aleve (naproxen) could make you test positive for barbiturates, THC

(cannabinoids), or PCP.

2. Antibiotics

Quinolone antibiotics, such as Levaquin (levofloxacin) or Cipro (ciprofloxacin) are commonly

prescribed for certain infections (urinary tract, sinus, etc.). They have been shown to trigger_a false

 

positive urine result for opiates. Rifampin, an antibiotic used to treat tuberculosis, can also lead to a

false positive result for opiates.

 

3. Antidepressants

Antidepressants—such

as Wellbutrin (bupropion), Prozac (fluoxetine), Seroquel (quetiapine), Effexor(venlafaxine), trazodone,

 

and amitriptyline—could cause a false positive result for amphetamines or LSD.

 

https://www.singleca re.com/blog/medications-that-cause-false-positive-drug-test/ 1
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11/9/2020 The Trazodone Metabolite meta-Chlorophenylpiperazine Can Cause False-Positive Urine Amphetamine Immunoassay Results

Article

The Trazodone Metabolite meta-Chlorophenylpiperazine Can Cause False-Positive Urine Amphetamine Immunoassay
Results

July 20114 é analytics cology 35(6):364-8

  

Authors:

Jason M Baron David A Griggs — Andrea L Nixon : William H Long

Show all 5 authors

 

 

 

  

Download citation

 

References (11}

 

Abstract

Amphetamines and methamphetamines are part of an important class of drugs included in most urine drugs of abuse screening panels, and a common
assay to detect these drugs is the Amphetamines II immunoassay (Roche Diagnostics). To demonstrate that meta-chlorophenylpiperazine (m-CPP), a
trazodone metabolite, cross-reacts in the Amphetamines II assay, we tested reference standards of m-CPP at various concentrations (200 to 20,000 g/L).
We also tested real patient urine samples containing m-CPP (detected and quantified by HPLC) with no detectable amphetamine, methamphetamine, or
MDMA (demonstrated by GC MS). In both the m-CPP standards and the patient urine samples. we found a strong association between m-CPP
concentration and Amphetamines I! immunoreactivity (r = 0.990 for the urine samples). Further, we found that patients taking trazodone can produce urine
with sufficient m-CPP to result in false-positive Amphetamines If results. At our institution, false-positive amphetamine results occur not infrequently in
patients taking trazodone with at least 8 trazodone-associated false-positive results during a single 26-day period. Laboratories should remain cognizant of
this interference when interpreting results of this assay.

https:/Mwww.researchgate.net/publication/51478344_The_Trazodone_Metabolite_meta-Chlorophenylpiperazine_Can_Cause_False-Positive_Urine_A... 1/1
14/13/2020 Urine Drug Screening: Minimizing False-Positives and False-Negatives to Optimize Patient Care
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the tested drug.” The occurrence of false-positives is mostly affected by the
type of immunoassay used and by the particular agent being tested.*

Table 2.

AMP/MET BAR 820 THE LSO wTO OPI PCP TCA
x
X

 

When selecting therapeutic agents for high-risk patients, pharmacists should
consider minimizing the use of drugs known to cause false-positive results, if
possible. The selection of an appropriate therapeutic agent for a patient
depends on numerous factors, such as the effectiveness and adverse-effect
profile of the drug; therefore, minimizing the use of medications shown to cause
false-positives must be weighed against clinical judgment in product selection.
However, for patients undergoing frequent UDS testing, selecting an agent least

httpsv/Awww. uspharmacist.com/article/urine-drug-screening-minimizing-false-positives-and-faise-negatives-to-optimize-patient-ca re 5/11
11/13/2020 The trazodone metabolite meta-chlorophenylpiperazine can cause false-positive urine amphetamine immunoassay results - PubMed
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COVID-19 is an emerging, rapidly evolving situation.
Get the {atest public health information from CDC: https://www.coronavirus.gov.
Get the latest research from NIH: httos://www.nih.gov/coronavirus.
Find NCBI SARS-CoV-2 literature, sequence, and clinical content: https:/Awww.ncbi.nlm.nih.gev/sars-cov-2/.

OXFORD

The trazodone metabolite meta-
chlorophenylpiperazine can cause false-positive
urine amphetamine immunoassay results

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Affiliations
PMID: 21740694 DO (O.20¢3/anatox/S5 6364

Abstract

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Laboratories should remain cognizant of this interference when interpreting results of this assay.

Related information

 

 

LinkOut - more resources

Full Text Sources

Medical
internabonal Agency for Research on Cancer - Sdreening Group

Miscellaneous

https.//oubmed.ncbi.nim.nih.govw/21740694/
PEE EARS aM? Wit you Nave Drug screen false positive with Lisinopril? - eHealthMe

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Gender of people who have Drug screen false positive
when taking Lisinopril *:

e female: 35.56%

e male: 64.44%

Age of people who have Drug screen false positive
when taking Lisinopril *:

e 0-1:0.0%
e 2-9:0.0 %
@ 10-19:0.0 %

@ 20-29:2.56%
e 30-39: 23.08 %
® 40-49: 28.21 %
« 50-59:3846%
e 60+: 7.69%

Common drugs people take besides Lisinopril *:

Common side effects people have besides Drug screen
false positive *:

Common conditions people have *:

* Approximation only. Some reports may have incomplete information.

hilps:/www.ehealthme.com/ds/isinopril/drug-screen-false-positive/ 24
